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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


  In re:                                                  BK No.: 24-01529
                                                          (Jointly Administered)
  TRP Brands LLC
                                                          Chapter 11
        Debtor.                                           Honorable David D. Cleary
  ____________________________________/

                                    NOTICE OF MOTION

PLEASE TAKE NOTICE that on April 17, 2024 at 10:00am, or as soon thereafter as counsel
may be heard, we shall appear before the Honorable Judge David D. Cleary, Bankruptcy Judge, or
any Judge sitting in that Judge’s place, either in Courtroom 644 of the Everett McKinley Dirksen
United States Courthouse, 219 South Dearborn Street, Chicago, Illinois 60604, or electronically
as described below, and shall then and there present Jola Interactive LLC’s Motion for an Order
Setting Deadline for Debtor to Assume or Reject Certain Executory Contracts, a copy of
which is attached and hereby served upon you, at which time and place you may appear if you so
see fit.

All parties in interest, including the movant, may appear for presentment of the motion
either in person or electronically using Zoom for Government.

You may appear electronically by video or by telephone.

To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID and
password.

To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then
enter the meeting ID and password.

Meeting ID and password. The meeting ID for this hearing is 161 122 6457 and the passcode for
the hearing is Cleary644. The meeting ID and password can also be found on the judge’s page on
the court’s web site.

If you object to the Motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection
is timely filed, the motion will be called on the presentment date. If no Notice of Objection is
timely filed, the court may grant the motion in advance without a hearing.




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                                                    Respectfully Submitted,

                                                    /s/ Christopher R. Thompson
                                                    Christopher R. Thompson
                                                    Illinois Bar No. 6297769
                                                    E-mail: crthompson@burr.com
                                                    BURR & FORMAN LLP
                                                    200 S. Orange Avenue, Suite 800
                                                    Orlando, Florida 32801
                                                    Phone: (407) 540-6600
                                                    Facsimile: (407) 540-6601
                                                    Attorney for Jola Interactive, LLC

                                   CERTIFICATE OF SERVICE

STATE OF ILLINOIS )
                  )           SS
COUNTY OF COOK )

CHRISTOPHER R. THOMPSON, being first duly sworn on oath, deposes and stated that he
served a copy of the foregoing Notice together with a copy of the Motion attached thereto on the
persons named below, by either service through CM/ECF or US Post, or as otherwise indicated,
on March 29, 2024.

                                                    /s/ Christopher R. Thompson
                                                    Christopher R. Thompson

         United States Trustee for the Northern District of Illinois – Service via CM/ECF
         Official Committee of Unsecured Creditors c/o Matthew Wawrzyn – Service via CM/ECF
         Official Committee of Unsecured Creditors c/o Patricia B. Fugee – Service via CM/ECF
         Furniture Asset Partners LLC c/o David A. Warfield – Service via CM/ECF
         Planned Furniture Promotions, Inc. c/o Leo L. Esses – Service via CM/ECF
         Planned Furniture Promotions, Inc. c/o Scott B. Kitei – Service via CM/ECF
         Bread Financial Holdings c/o James H Haithcock, III – Service via CM/ECF
         Broadstone TRP Indiana, LLC c/o Michael Myers – Service via CM/ECF
         Broadstone Net Lease c/o Michael Myers – Service via CM/ECF
         Broadstone Net Lease c/o Mahal Zarnighian – Service via CM/ECF
         STORE Capital c/o Michael Myers – Service via CM/ECF
         STORE Capital c/o Mahal Zarnighian – Service via CM/ECF
         James Campbell Company LLC c/o Nancy J. Newman – Service via CM/ECF
         Commonwealth Edison Company c/o Monica Merino – Service via CM/ECF
         R.I.M. Logistics c/o Timothy M. Howe – Service via CM/ECF
         CIBC Bank USA c/o Peter A. Siddiqui – Notice to peter.siddiqui@katten.com
         Taft, Stettinius and Hollister LLP – Notice to dweinstein@taftlaw.com




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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


  In re:                                                   BK No.: 24-01529
                                                           (Jointly Administered)
  TRP Brands LLC
                                                           Chapter 11
        Debtor.                                            Honorable David D. Cleary
  ____________________________________/

 JOLA INTERACTIVE LLC’S MOTION FOR AN ORDER SETTING DEADLINE FOR
    DEBTOR TO ASSUME OR REJECT CERTAIN EXECUTORY CONTRACTS

           COMES NOW Jola Interactive LLC (“Jola”), by and through its undersigned counsel, and

pursuant to 11 U.S.C. § 365(d)(2) and Fed. R. Bank. P. 6006(b) and 9014, moves (this “Motion”)

the Court to set a deadline by which the Debtor, TRP Brands LLC (“Debtor”), must assume or

reject certain executory contracts with Jola, as detail below. In support of this Motion, Jola states

as follows:

                                         INTRODUCTION

           Absent a deadline prior to the confirmation hearing (which has not yet been set because

the Debtor has not yet filed a plan) by which the Debtor must assume or reject its executory

contracts with Jola, the Debtor may be able to reap the benefits of such contracts without having

to assume or reject them. In other words, the Debtor will receive the full benefit of Jola’s services

under the contracts without having to cure the pre-petition defaults, i.e., non-payment of

$114,903.65 for pre-petition services rendered by Jola. Such a result would be inequitable. The

Debtor has been afforded enough breathing room to know whether it wishes to assume or reject

the agreements with Jola, and thus far has given Jola every indication that it intends to continue

paying Jola for its website programming and website maintenance services. Therefore, Jola




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respectfully requests that this Court grant this Motion and set a deadline of May 1, 2024, by which

the Debtors must elect to assume or reject the Agreements (as defined below).

                                JURISDICTION AND VENUE

          1.   The Court has jurisdiction to consider the Motion under 28 U.S.C. §§ 1334 and

157. This matter is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this Court

pursuant to 28 U.S.C. §§ 1408 and 1409. As noted, the relief requested in this Motion may be

granted in accordance with § 365(d)(2) of the Bankruptcy Code, and Rules 6006(b) and 9014 of

the Federal Rules of Bankruptcy Procedure.

                                 FACTUAL BACKGROUND

The Website Development Agreement and the associated Maintenance Plan.

          2.   Jola provides comprehensive eCommerce solutions that include website

development and programming, 3D modelling, interior design rendering, product rendering,

augmented reality, and branding and marketing services. Jola specializes in eCommerce solutions

for furniture and home décor companies, like the Debtor.

          3.   On May 24, 2022, the Debtor’s affiliated entity, TRP Acquisition Inc. d/b/a The

Room Place, and Jola entered into that certain Website Development Agreement. Under the

Agreement, Debtor engaged Jola to design, develop, and create four (4) eCommerce Websites.

          4.   On or about November 6, 2023, the Debtor and Jola entered into that certain

Addendum to Website Development Agreement (the “Addendum”). Pursuant to the Addendum, the

Debtor became a party to the Website Development Agreement, and the term was extended from

November 1, 2023, through June 30, 2024 (the “Expiration Date”). The Addendum together with

the Website Development Agreement shall be collectively referred to as the “Development

Agreement.” A true and correct copy of the Development Agreement is attached hereto as Exhibit

“A”.


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          5.    As of the petition date, there was due and owing to Jola the outstanding amount of

$92,229.46 for work Jola performed pre-petition under the Development Agreement.

          6.    In addition to the Development Agreement, on or around May 25, 2023, the Debtor

and Jola entered into that certain Maintenance Plan (as amended pursuant to that certain Addendum

to TRP Maintenance Plan Agreement dated as of January 9, 2024, the “Maintenance Plan”; the

Development Agreement and Maintenance Plan together are referred to herein as the

“Agreements”), pursuant to which Jola agreed to provide 24/7 website support and ongoing

website maintenance services. A true and correct copy of the Maintenance Plan is attached hereto

as Exhibit “B”.

          7.    The term of the Maintenance Plan expires 12 months after the launch of the fourth

website contemplated for development under the Development Agreement (e.g., if such website is

launched on June 30, 2024, then the Maintenance Plan term expires on June 30, 2025).

          8.    As of the petition date, there was due and owing to Jola the outstanding amount of

$22,674.19 for work Jola performed pre-petition under the Maintenance Plan.

The Debtor’s Bankruptcy Case and Post-Petition Actions:

          9.    The Debtor filed its voluntary petition under chapter 11 of title 11 of the United

States Bankruptcy Code (the “Bankruptcy Code”) on or about February 2, 2024 (the “Petition

Date”). See Doc. 1.

          10.   On February 28, 2024, the Debtor filed its schedules and included the Agreement

as a part of Schedule 6, Executory Contracts and Unexpired Leases. See Doc. 110.

          11.   Since the Petition Date, the Debtor has continued to utilize Jola’s services under

the Agreements, and has confirmed that the Debtor desires Jola to continue all work under the

Agreements. As such, Jola has continue to perform pursuant to the terms of the Agreements, and




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the Debtor has made payment to Jola for certain of its post-petition work. However, the Debtor

has not indicated whether it plans to assume or reject the Agreements.

                        RELIEF REQUESTED AND BASIS FOR RELIEF

          12.    Jola requests that the Court set a deadline no later than May 1, 2024, for the Debtor

to assume or reject the Agreements.

          13.    Section 365(d)(2) of the Bankruptcy Code provides the Court with the power to

compel a debtor to assume or reject an executory contract within a specified period of time:

          In a case under chapter…11…of this title, the trustee may assume or reject an
          executory contract…of the debtor at any time before the confirmation of a plan but
          the court, on the request of any party to such contract or lease, may order the trustee
          to determine within a specified period of time whether to assume or reject such
          contract…

11 U.S.C. § 365(d)(2). “Congress intended this provision to prevent parties in contractual or lease

relationships with the debtor from being left in doubt concerning their status vis-a vis the estate.”

In re Univ. Med. Ctr., 973 F.2d 1065, 1079 (3d Cir. 1992) (internal quotations removed).

          14.    Although the Bankruptcy Code provides Chapter 11 debtors with a “breathing

space” to determine whether a particular executory contract should be assumed or rejected, such

“breathing space…is not without limits.” In re Enron Corp., 279 B.R. 695, 702 (Bankr. S.D.N.Y.

2002). Indeed, the United States Supreme Court has recognized that “in certain circumstances, the

rights of the non-debtor party…outweigh the need of the debtor in possession for unlimited

flexibility and breathing space.” N.L.R.B. v. Bildisco, 465 U.S. 513. 552 (1984).

          15.    A debtor’s time limit to determine assumption/rejection is governed by

“reasonableness.” See, e.g., Dallas-Fort Worth Regional Airport Bd. v. Braniff Airways, Inc., 26

B.R. 628, 636 (N.D. Tex. 1982). The resolution of what constitutes a reasonable time for the debtor

to decide is “left to the bankruptcy court’s discretion in light of the circumstances of the case.”

Matter of Whitcomb & Keller Mortgage Co., Inc., 715 F.2d 375, 379 (7th Cir. 1983); In re Wallace,


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122 B.R. 222, 234 (Bankr. D.N.J. 1990); In re Monroe Well Service, Inc., 83 B.R. 317, 323 (Bankr.

E.D. Pa. 1988).

          16.   Courts often consider or evaluate a number of factors to gauge “reasonableness” for

purposes of section 365(d)(2) of the Bankruptcy Code that include the following: (i) the nature of

the interests at stake, (ii) the balance of harm to the parties, (iii) the safeguards afforded to the

parties, (iv) the damage third parties may suffer beyond the compensation available under the

Bankruptcy Code, (v) the debtor’s failure or ability to satisfy post-petition obligations, (vi) the

purposes of chapter 11, (vii) the importance of the contract in question to the debtor’s

reorganization, and (viii) whether the action to be taken is so in derogation of Congress’ scheme as

to be said to be arbitrary. See In re Adelphia Commc’ns Corp., 291 B.R. 283, 292-293 (Bankr.

S.D.N.Y. 2003) (collecting cases). Accordingly, courts generally evaluate the rights and interests

of the respective parties to the contract or lease, and balance the benefits or harms to such parties

arising from the requirement of an immediate assumption or rejection of the contract or lease.

          17.   Evaluating and balancing the benefits or harms to the parties by applying the

foregoing factors, this Court should compel the Debtor to assume of reject the Agreement within

a deadline specified by this Court. The Debtor has been afforded sufficient “breathing room” and

a reasonable amount of time to determine whether to assume or reject the Agreement. The Debtor’s

actions indicate that it plans to assume the Agreements because Jola’s services are crucial for the

Debtor’s ecommerce business platforms. And Jola wishes to continue providing its services to the

Debtor under the Agreements.

          18.   However, as explained above, the Development Agreement is set to expire on June

30, 2024. Based on comments made by Debtor’s counsel at the § 341 meeting of creditors

regarding the estimated timing of plan submission and confirmation, it is likely that the Expiration




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Date of the Development Agreement will occur before the confirmation hearing. If this were to

occur, then, absent a deadline to assume or reject that is before the Expiration Date, the Debtor

could reap the benefits of the Development Agreement by requiring Jola to continue to perform

post-petition, while also allowing the Development Agreement to expire by its terms, thereby

avoiding the Debtor’s obligation under § 365(b)(1)(A) to pay the cure costs associated with

assumption (i.e., the prepetition amounts due under the Agreements). In other words, at present,

Jola may be stuck performing its contractual obligations without any assurance that the Debtor

will ever face a deadline to assume or reject the Development Agreement. The Court can remedy

this situation by setting such a deadline before the Expiration Date of the Development Agreement.

          19.   On balance, the potential harm to Jola outweighs the need for the Debtor to be

allowed further flexibility and breathing space. Jola has an interest in receiving the cure amounts

due under the Agreements and § 365(b). The Debtor has an interest in receiving the services under

the Agreements. If the Court does not set a deadline to assume or reject the Agreements prior to

the Expiration Date, the Debtor may simply do nothing and the Development Agreement will be

assumed de facto, since Jola has no choice but to continue providing post-petition services, but

without the requirement under § 365(b)(1)(A) to cure existing defaults.

          20.   This potential harm and inequitable circumstance outweighs any potential harm to

the Debtor. The only harm to the Debtor is that it may be required to pay the pre-petition amounts

due to Jola in the aggregate amount of $114,903.65, if it assumes the Agreements. Further,

compelling the Debtor to assume or reject the Agreement before the Expiration Date is not contrary

to the purposes of Chapter 11 or so in derogation of Congress’ scheme as to be arbitrary. Rather,

compelling the Debtor to assume or reject the Agreement before the Expiration Date promotes an

equitable result for the parties.




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          21.    On balance, the benefits to Jola of setting a deadline outweigh the potential harm

to the Debtor. The Debtor has had a reasonable amount of time to consider whether to assume or

reject the Agreement (nearly two months already, and nearly 90 days as of May 1st), and Jola faces

significant potential harm if no deadline is set prior to the confirmation hearing. Therefore, this

Court should compel the Debtor to assume or reject the Agreements on an expedited basis pursuant

to § 365(d)(2) of the Bankruptcy Code.

                                          CONCLUSION

          WHEREFORE, Jola respectfully requests that this Court enter an order granting this

Motion, setting a deadline of May 1, 2024, or another date that is before June 30, 2024, by which

the Debtor must assume or reject the Agreements, and granting such further relief that this Court

deems just and proper.

          Dated this 29th day of March, 2024.

                                                      /s/ Christopher R. Thompson
                                                      Christopher R. Thompson
                                                      Illinois Bar No. 6297769
                                                      E-mail: crthompson@burr.com
                                                      BURR & FORMAN LLP
                                                      200 S. Orange Avenue, Suite 800
                                                      Orlando, Florida 32801
                                                      Phone: (407) 540-6600
                                                      Facsimile: (407) 540-6601
                                                      Attorney for Jola Interactive, LLC

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 29, 2024, a true and correct copy of the foregoing has

been served through the CM/ECF system to all registered CM/ECF recipients.


                                                      /s/ Christopher R. Thompson
                                                      Christopher R. Thompson




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                EXHIBIT
                  “A”
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                                Websites Proposal and
                                CGI Production & Process Implementation


                                 Jola Interactive
                                 Michael Lamarti
                                   mlamarti@jolausa.com
       1                           877-664-5652, x34                                                                                   Updated: May 16th, 2022
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                                  25        Total Budget Estimates




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                                Websites Proposal


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                                                                       Executive
                                                                       Summary


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                                 Executive
                                 Summary
                                 The RoomPlace is seeking a partner to replatform The Room                     needs, technology solutions, and creative services. This rare
                                 Place and APT2B websites, and launch 2 new websites on Adobe                  combination means that your business will receive unique strategic
                                 Commerce with the goal of completing the websites in 2023.                    insight for evolving your business, along with the web development
                                                                                                               expertise and experience needed to meet your sales and marketing
                                 Jola is proposing to provide a development team comprised of
                                                                                                               objectives.
                                 the multiple skill sets and experiences required to document
                                 the specifications, and build the two websites according to the               Our proposal is a high level representation of our recommendation
                                 requested schedule. As a critical part of the business strategy,              based upon the requirements we reviewed together most recently.
                                 the digital experience should be second to none, delivering an                Once we have a solid knowledge base, we will have the ability to
                                 exceptional customer experience at every touch point. The Jola                move quickly towards defined project definitions.
                                 team believes soundly that it can deliver such an experience.
                                                                                                               We look forward to reviewing our proposal with the team at The
                                 Jola is an ideal choice of partner for The RoomPlace, with a strong           RoomPlace and to potentially working together to bring these
                                 experience and a proven track record of driving results through               exciting new websites to life.
                                 digital innovation for brands and businesses. Founded in 2010, our
                                 mission at Jola is to create best of breed solutions designed to help
                                 our clients grow. We are composed of an interdisciplinary mix of
                                 strategy, creative, UX design, visual design, creative technologies
                                 and engineering teams. Each one of our team members has spent
       5                         years working with brands of all sizes on their strategic marketing
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                                 What Separates Us
                                 From the Rest?
                                 We’ll ask the right questions about your online business
                                 requirements and there won’t be much of a learning curve for us                  Integration Experience
                                 when it comes to understanding your business practices and how to
                                 replicate them effectively online.                                               ○   Quickbooks              ○   Salesforce with Pardot
                                                                                                                  ○   SAP                     ○   Live chat applications
                                 We’ve built websites that include features to help retailers,
                                                                                                                  ○   SYSPRO                  ○   AS400
                                 designers, and consumers make their experience online more
                                                                                                                  ○   Macola                  ○   Sage 100 and Sage 500
                                 productive. The sites we build attract visitors and generate millions
                                 of dollars online for our clients.                                               ○   ACCtivate               ○   Netsuite
                                                                                                                  ○   Microsoft Dynamics      ○   Many more ERP and CRM
                                 We’re not only a web development company, we’re also a 3D                                                        solutions
                                 solutions specialist that works on visual configurators, augmented
                                 reality solutions, and 3D modeling with photorealism outputs.

                                 We understand integration well. We’ve worked with clients to
                                 integrate into some of the most robust enterprise solutions,
                                 CRM’s and 3rd party applications. We’re comfortable with your
                                 requirements.

                                 Because we also specialize in virtual photography and digital
                                 draping solutions, we can help you show all of your products online
                                 in every color, material and finish options in their true state.


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                                                                       Project
                                                                       Breakdown


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                                                                                                            Project Description
                                                                                                            The RoomPlace is planning to build 2 Magento eCommerce websites
                                                                                                            by December 2022. Both websites will have their separate, respective
                                                                                                            front-ends managed through one content management system on
                                                                                                            the same Magento Commerce Cloud environment. The websites
                                                                                                            will integrate with Storis ERP software connected to a custom built
                                                                                                            middleware that The RoomPlace manages.

                                                                                                            The 2 websites will each retain their individual branding attributes and
                                                                                                            function separately from each other, with each brand incorporating
                                                                                                            their respective business rules, product catalogs, and logic.

                                                                                                            In addition, The Room Place will rebuild their existing 2 websites
                                                                                                            (apt2b.com, theroomplace.com) on the same Magento platform being
                                                                                                            used for the websites being completed in 2022.

                                                                                                            The total websites will all be integrated in STORIS ERP.




                                 Project
                                 Description
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                                                                                                            Deliverables
                                                                                                            Jola will work with TRP to scale and scope all of the requirements
                                                                                                            for a replatform of theroomplace.com and apt2b.com, as well as
                                                                                                            the new development of a mattress website and a sectional website
                                                                                                            (both yet to be named) on the same Adobe commerce installation
                                                                                                            that will support all of the company’s websites.

                                                                                                            Jola’s team will start by defining the business objectives and
                                                                                                            specifications of each website before creating an updated road
                                                                                                            map and schedule for each website. The progamming team will
                                                                                                            commence their work on the integration between Storis and
                                                                                                            Magento Commerce.

                                                                                                            Jola’s team will also:

                                                                                                            ○ Develop and document the specification
                                                                                                            ○ Provide a road map and timeline to meet the desired schedule
                                                                                                            ○ Complete the UX framework for responsive design
                                                                                                            ○ Program the back-end websites logic
                                                                                                            ○ Program the front-end design and functionalities
                                                                                                            ○ Optimize the websites for browsers’ top performance (as rated by
                                                                                                              Google Speed and GT Matrix)
                                                                                                            ○ Ensure that the sites successfully launch by the set dates
                                                                                                            ○ Provide ongoing support




                                 Deliverables
       9
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                                 The Room Place, Mattress,                                                                     May 24th, 2022- June 30th, 2022
                                                                                                                              Magento 2 Front-end/Back-end
                                 Sectional, and APT 2B Websites

                                 Solutions Architect                                                      50%

                                 (1) Magento 2 Developer                                                  50%

                                 (1) Integration Specialist                                               Full Time

                                 6 Week budget                                                            $33,250

                                 Account Management                                                       $11,250

                                 UX/UI Design                                                             $120/hr

                                 QA & Testing                                                             Included

                                 Length of Development                                      May 24th, 2022- June 3oth, 2022




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                                 The Room Place, Mattress,                                                                         July 1st, 2022 - May 31st, 2023
                                                                                                                                Magento 2 Front-end/Back-end
                                 Sectional, and APT 2B Websites

                                 Solutions Architect                                                      Full Time

                                 (2) Senior Magento 2 Developers                                          Full Time

                                 (1) Magento 2 Developer                                                  Full Time

                                 (1) Integration Specialist                                               Full Time

                                 (3) Magento 2 Front-end Developer                                        Full Time

                                 Monthly Budget                                                           $72,000

                                 Account Management                                                       $7,500

                                 UX/UI Design                                                             $120/hr

                                 QA & Testing                                                             Included

                                 Length of Development                                        July 1st, 2022 - May 31st, 2023
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                                 APT 2B and                                                                                     July 1st, 2023 - October 31st, 2023
                                                                                                                                Magento 2 Front-end/Back-end
                                 Integration Updates

                                 Solutions Architect                                                       Full Time

                                 (1) Senior Magento 2 Developers                                           Full Time

                                 (1) Magento 2 Developer                                                   Full Time

                                 (1) Integration Specialist                                                Full Time

                                 (2) Magento 2 Front-end Developer                                         Full Time

                                 Monthly Budget                                                            $51,000

                                 Account Management                                                        $7,500

                                 UX/UI Design                                                              $120/hr

                                 QA & Testing                                                              Included

                                 Length of Development                                 July 1st, 2023 - October 31st, 2023
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                                 Sectional and Mattress
                                 Website Roadmap




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                                 The Room Place
                                 Website Roadmap




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                                 APT 2B
                                 Website Roadmap




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                                                                                                            Website development deliverables will include a discovery
                                                                                                            document, UX-UI design, front-end design and programming,
                                                                                                            backend programming, testing, and ongoing support. Jola is able
                                                                                                            to provide hosting solutions or host the site, should you request
                                                                                                            this.

                                                                                                            Upon completion of the site development, Jola will provide a
                                                                                                            custom manual that will include instructions specific to your site
                                                                                                            on how to update all of the sites content including products and
                                                                                                            static content. Jola’s manuals are produced for non-technical users,
                                                                                                            and provide clear screen shots with detailed instructions on how
                                                                                                            to manage every feature on the site. Once the manual is provided,
                                                                                                            Jola can host a series of online training sessions for the sites’ admin
                                                                                                            team to demonstrate the most often used functions of the CMS
                                                                                                            and to provide further instructions on topics that require more
                                                                                                            clarity by the admin team.




                                 We Deliver
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                                 Standardization,
                                 Testing + SEO

                                 Standardization                                                                  SEO
                                 Designing and building a proper websites requires the expertise to               We build websites with SEO in mind. This gives the The RoomPlace
                                 ensure that the sites run smoothly across a multitude of platforms               the tools required to update the websites for SEO purposes on
                                 and browsers.                                                                    regular basis. Jola will also create all of the 301 redirect requests
                                                                                                                  made from the client for all new URL’s. The site will be:
                                 ○ The websites will be able to be viewed properly on the 2 most recent
                                   versions of Chrome, Chrome for Mac, Safari, Firefox Mozilla, Firefox           ○ 100% Search Engine Friendly
                                   Mozilla for Mac, and Microsoft Edge
                                                                                                                  ○ Google Site Map
                                                                                                                  ○ URL Rewrites give full control of URL’s
                                 Testing Standards
                                                                                                                  ○ Meta fields for products and categories
                                 We will test your websites in their entirety, including design,                  ○ Auto-generated Site Map for display on site
                                 functionality, and backend programming. We will:
                                                                                                                  ○ Auto-Generated Popular Search Terms Page
                                 ○ Prepare test cases based on design and functionality
                                 ○ Ensure a cosmetic bug test before delivery
                                 ○ Test the embedded links to make sure that no errors are there
                                 ○ Validate all web applications
                                 ○ Make sure that all code will be compliant to W3C
                                 ○ Ensure that all product data is imported properly onto the site, and
                                   display properly
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                                                                       Websites
                                                                       Budget Estimates


                                                                                                                                       18
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                                                                                                          $33,750
                                                                                                                                       Websites Development Terms:
                                                                                                          $11,250                      Monthly retainer due 1st of each month
                                                                                                          $4,000                       Balance paid over 5 consecutive months with final
                                                                                                          $49,000                      payment due within 15 days after deployment to
                                                                                                                                       live websites

                                                                                                                                       May-June retainer is due in full at signing of
                                                                                                          $72,000                      contract

                                                                                                          $7,500
                                                                                                          $9,000
                                                                                                          $88,500


                                                                                                          $72,000
                                                                                                          $7,500
                                                                                                          $1,500
                                                                                                          $81,000


                                                                                                          $49,000
                                                                                                          $7,500
                                                                                                          $1,500
                                                                                                          $58,000

      19                                                                                                  $848,000
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                                 How We
                                 Work
                                 Discovery & Requirements                                                       Architecture & Navigation
                                 The discovery and requirements process will span several weeks,                During this phase, we will focus on defining the overall site
                                 overlapping with other stages of the project plan. The following               architecture and navigation system. We will identify the most
                                 tasks are part of this phase:                                                  efficient way to present content to visitors in order to meet their
                                                                                                                objectives quickly and provide them with an optimal customer
                                 ○ Kickoff/initial discovery
                                                                                                                experience.
                                 ○ Competitive analysis and comparative audits
                                                                                                                Following tasks are included in the design phase:
                                 ○ Product research and understanding
                                                                                                                ○ Brand integration planning
                                 ○ Key stakeholder interviews
                                                                                                                ○ Design exploration
                                 ○ Brand audit
                                                                                                                ○ Design styleboards and mockups/reviews and refinements
                                 ○ Content audit and strategy
                                                                                                                ○ Asset guidelines
                                 ○ Technical discovery and requirements gathering




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                                 Front-end/Back-End Production/Integration                                       Quality Assurance Testing
                                 Our development approach will be defined by what is eventually                  Our quality assurance approach takes place during development
                                 planned and designed. This will include the development of                      and at the end of the project as a stand-alone phase. This
                                 the front-end user experience (page layouts, functionality, and                 ensures we have allocated adequate time to test key features and
                                 interaction) and The websites production overlaps with Back-end                 functionality, and that we’re able to eliminate any known bugs
                                 systems (CMS and API integration, programming of integration                    ahead of deployment. For QA testing, we will use a 3rd party
                                 scripts for existing systems)                                                   testing partner that has expertise in building and managing a test
                                                                                                                 plan and providing our team with direction on issues that have
                                 ○ Front-end UI styleguides & template development
                                                                                                                 been identified. This provides an objective view of the build and
                                 ○ Development staging, production environment setup                             keeps our team focused on development and refinement. Our QA
                                 ○ CMS selection, setup, customization (Magento or Demandware)                   approach includes the following key tasks:
                                 ○ Develop email capture forms/auto reply emails
                                                                                                                 ○ Bug tracking
                                 ○ Programming with React framework, java script, HTML 5.0 and XHTML,
                                                                                                                 ○ Bug fixing and approval
                                   DHTML, along with AJAX and JAVA, keeping in mind the latest web
                                   trends                                                                        ○ Code and asset optimization

                                 ○ Back-end development & integration with web services (API) and custom         ○ Client user acceptance testing
                                   coded scripts                                                                 ○ Deployment support and post deployment testing
                                 ○ Hand off requirements & on boarding




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                                 Budget
                                 Considerations
                                 ○ The project schedule and budget allocation presented in the proposal              The following tasks have been excluded from our estimate:
                                   is based on information known to date, provided documentation, and
                                                                                                                     ○ The client will provide all site content and copywriting, and as such, it
                                   initial discussions with The Room Place.
                                                                                                                       is recommended that the client also manage the content population
                                 ○ While The agency’s understanding of the project needs and objectives                process as part of CMS onboarding.
                                   are clear, the exact scope of work required to deliver the right solution
                                                                                                                     ○ All visual assets (photography, logos, product images, etc.) will be
                                   will be further identified during the discovery process.
                                                                                                                       provided by the client. During concepting and design, Jola will identify
                                 ○ The agency has included certain assumptions and exclusions to arrive at             specific assets that will be needed throughout the product process and
                                   a cost that is in line with the scope of work, as we understand it today.           prior to deployment.

                                 ○ The use of partners (outsourcing) may be used for specific tasks within           ○ Ongoing maintenance, including additional training and support
                                   the development and quality assurance process. It is not yet determined             are considered part of the maintenance/retainer scope and will be
                                   if this would be necessary, however we wish to make it known that we                contained in a separate agreement.
                                   may leverage third parties for these specific tasks, in which case, costs
                                                                                                                     ○ Any and all costs associated with acquisition of software, services, or
                                   will be included in the budget shown here.
                                                                                                                       assets that don’t fall under the original the scope of work.

                                 Additional Cost Considerations
                                 ○ Asset Production (Photography, Video, CGI, Motion Design)
                                 ○ User Tracking / Heat mapping
                                 ○ Support & Optimization
                                 ○ Third Party Licenses (If Needed)


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                                CGI Production &
                                Process Implementation
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                                                                                                            The Project as We See it
                                                                                                            Jola will work with the TRP team to develop a process, structure, and
                                                                                                            workflow to ensure the successful development of 3D assets for TRP.

                                                                                                            Deliverables
                                                                                                            ○ Create a uniform standard for collecting and delivering assets/materials
                                                                                                              to Jola
                                                                                                            ○ Developing document formats for documenting dimensions by product
                                                                                                              category
                                                                                                            ○ Defining standards for collecting and storing images, 2D and 3D CAD
                                                                                                              files, line drawings, 3D scans, fabric and material swatches, other
                                                                                                              relevant information to aid in the efficiencies of creating models and
                                                                                                              renders
                                                                                                            ○ Differentiating between 3D standard models and 3D configurable
                                                                                                              models needed to be built for visual configurator and how this affects
                                                                                                              the review process
                                                                                                            ○ Establishing a workflow for the TRP review process with Jola and the
                                                                                                              submission of edits
                                                                                                            ○ Training on the Jola project management software


                                                                                                            Deliverable
                                                                                                            The culmination of our joint efforts will establish a proper workflow


                                 Project
                                                                                                            between TRP and Jola to prepare, build, review, and successfully
                                                                                                            finalize large batches of 3D models and renders on a monthly basis


                                 Description                                                                Budget
                                                                                                            $2,500
      24
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                                                                       Total Budget
                                                                       Estimates


                                                                                                                                       25
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                                 Total Budget
                                 Estimates
                                 Description
                                 Total Websites Development Budget 2022-2023                                            $848,000

                                 CGI Production & Process Implementation                                                $2,500


                                 Total Project Estimate                                                                 $850,500


                                   Websites Development Terms:
                                   Monthly retainer due 1st of each month

                                   Balance paid over 5 consecutive months with final
                                   payment due within 15 days after deployment to
                                   live websites

                                   May-June retainer is due in full at signing of
                                   contract




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                                 Proposal
                                 Approval
                                 IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by their duly authorized representatives, effective as of the latest date
                                 set forth below.


                                 Approved By:                                                                     Signature:


                                 Company:                                                                         Title::


                                 Date:




                                                         Michael Lamarti
                                 Approved By:                                                                     Signature:


                                                        Jola Interactive                                                           CEO
                                 Company:                                                                         Title:


                                                         5/23/2022
                                 Date:


                                 This Proposal is subject to the terms and conditions of the Website Development Agreement titled “the Room Place Website Dev Contract 5-16”, dated
      27                         on May 5th, 2022 between the parties
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       Jola Interactive
       Michael Lamarti
          mlamarti@jolausa.com
          877-664-5652, x34                                                                                                            jolausa.com
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                            ADDENDUM TO WEBSITE DEVELOPMENT AGREEMENT

   Extension of Contract Date: 11/1/23 through 6/30/24
   Original Contract Date: 5/23/2022
   Client: TRP Brands, LLC. (“CLIENT”) with a principal place of business at 1000-46 N. Rohlwing Rd,
   Lombard, IL 60148.
   Service Provider: Jola Interactive, LLC (“JOLA”), with a principal place of business at 19 Talcott Road, Rye
   Brook, NY 10573

   This Addendum to the WEBSITE DEVELOPMENT AGREEMENT (the “Addendum”) is entered into
   between TRP Brands, LLC. (“Client”) and Jola Interactive, LLC (“JOLA”) to amend the original Website
   Development Agreement dated 5/23/2022.

       1. Extension of Contract Duration
          The existing contract shall be extended for a period of eight (8) months, commencing on November 1,
          2023, and referred to as the "extended period." Monthly invoices, amounting to $45,200 for 400 hours,
          will be issued and must be settled by the 5th day of each month.​ In cases where additional hours are
          needed, Jola will notify the Client to approve the hours. Invoices for additional costs beyond the
          $45,200 monthly fee will be due within 30 days of submission. JOLA will provide the Client with a
          comprehensive report detailing the allocation of hours and task breakdown within five business days of
          each ensuing month.

       2. Review and Extension
          The Client has expressed a desire for the website development and related services, including the
          launch of the following websites: Seatables, APT2B, and The Room Place, to be concluded within 8
          months commencing from the initiation of this contract. However, due to variables such as the
          continuous evolution of website designs, the honing of technical specifications, the partial availability
          and indeterminate delivery schedule of all assets for all websites, unpredictability in resource
          requirements, and the dynamics of collaborating with 3rd party solutions and services, Jola cannot
          guarantee adherence to the desired timeline. Nevertheless, Jola will exert every feasible effort to meet
          the Client's expectations within its control and influence boundaries.

       3. Scope of Work
          The scope of the work for this managed resources agreement is to continue the development of the
          Client’s websites as outlined in the main contract between the parties. The dedicated team includes an
          Account Manager, Project Manager, Technical Lead/Back End Developer, two (2) front-end REACT
          Developers, and two (2) Quality Assurance Developers.

       4. Payment Schedule
          The resources allocated to work on the Client’s websites will cost $45,600 to $68,000 a month, with
          payment due by the 5th of every month. If payments for invoices submitted 30 days or more are not
          received by the due date, the agency reserves the right to impose a 5% late fee on all outstanding
          balances that exceed the 30-day threshold. In addition to this, the agency may suspend work until all
          outstanding payments have been settled.
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       5. Termination
          The Client or JOLA may terminate this contract extension by providing a written notice of termination
          at least thirty (30) days before the end of the Extension.

       6. Governing Law
          Any dispute or controversy arising among the parties hereto regarding any terms, covenant, or
          condition of this agreement or the breach thereof shall, upon written demand of any party hereto, be
          submitted to and determined by arbitration before the American Arbitration Association by a panel of
          three arbitrators, by the rules of the Association then in effect. Any award rendered shall be made
          through a written opinion explaining the arbitrators’ reasons for the award. The arbitrators may not
          amend or vary any provision of this agreement. Judgment upon the award rendered by the arbitrators
          may be entered in any court of competent jurisdiction, which court shall have the power to review such
          award for compliance with this agreement.

           In the event of any controversy concerning or related to this Agreement or the performance of this
           Agreement, the prevailing party shall be entitled to recover its reasonable expenses, including, without
           limitation, reasonable attorneys’ fees.

       7. Entire Agreement
          This Addendum constitutes an integral part of the original Website Development Agreement and,
          together with it, constitutes the entire agreement between the parties regarding the project.

       8. Signature
          Both parties acknowledge their understanding and acceptance of this Addendum to the Website
          Development Agreement by signing below.


    Jola Interactive                                         TRP Brands, LLC.
      Michael Lamarti                                        Caroline Posey
    _____________________                                     _______________________
     Print Name:                                              Print Name:

    _____________________                                     _______________________
    Signature:                                                Signature
     11/6/2023                                        11/6/2023
   ________________________                          _________________________
   Date:                                                     Date:
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